Case 17-24394-KCF   Doc 21-2 Filed 11/08/17 Entered 11/08/17 16:03:15   Desc
                        Proposed Order Page 1 of 4
Case 17-24394-KCF   Doc 21-2 Filed 11/08/17 Entered 11/08/17 16:03:15   Desc
                        Proposed Order Page 2 of 4
Case 17-24394-KCF   Doc 21-2 Filed 11/08/17 Entered 11/08/17 16:03:15   Desc
                        Proposed Order Page 3 of 4
Case 17-24394-KCF   Doc 21-2 Filed 11/08/17 Entered 11/08/17 16:03:15   Desc
                        Proposed Order Page 4 of 4
